 FillCase     13-24916-CMB
     in this information to identify theDoc
                                        case: 81           Filed 01/30/19 Entered 01/30/19 16:36:01                        Desc Main
                                                           Document     Page 1 of 2
B 10 (Supplement 2) (12/11)             ost publication draft)
                        KEVIN E. GRAY (p
 Debtor 1
                       KEVIN E. GRAY
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         WESTERN
 United States Bankruptcy Court for the: ______________________              PA
                                                                District of __________
                                                                             (State)
 Case number              13-24916-CMB
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                               10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information


                                  US BANK NA TRUSTEE OF THE IGLOO SERIES III TRUST                           Court claim no. (if known):
 Name of creditor:                ______________________________________
                                                                                                              2-1
                                                                                                             _________________

 Last 4 digits of any number you use to identify the debtor’s account:                   9 ____
                                                                                       ____ 1     2 ____
                                                                                                ____ 8

 Property address:                 104 FORBES AVENUE
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                   LATROBE                     PA       15650
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

  
  X     Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date              $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

  X Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:               1 1       2019
                                                                                 ____/_____/______
                                                                                 MM / DD / YYYY

       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                        (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                               +   (b)   $ __________

        c. Total. Add lines a and b.                                                                                       (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became              ____/_____/______
        due on:                                                                  MM / DD / YYYY


Form 4100R                                                 Response to Notice of Final Cure Payment                                   page 1
    Case 13-24916-CMB                          Doc 81             Filed 01/30/19 Entered 01/30/19 16:36:01                          Desc Main
                                                                  Document     Page 2 of 2

Debtor 1         KEVIN       E.              GRAY
                _______________________________________________________                                               13-24916-CMB
                                                                                              Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
  X
        I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




                /s/ Allison L. Carr_______________________________________________1
                   Signature
                                                                                              Date         30 2019
                                                                                                      ____/_____/________




 Print              Allison              L.                Carr
                   _________________________________________________________                  Title    Creditor's Counsel
                                                                                                      ___________________________________
                   First Name                      Middle Name         Last Name




 Company            Tucker Arensberg, P.C.
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           1500 One PPG Place
                   _________________________________________________________
                   Number                 Street


                    Pittsburgh                              PA 15222
                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone     412
                   (______) 566
                            _____–   1212
                                   _________                                                         acarr@tuckerlaw.com
                                                                                              Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
